   Case 2:24-cv-06706-JMY       Document 16-3   Filed 04/04/25   Page 1 of 27




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


REMBRANDT 3D HOLDING LTD,                           Case No. 2:24-cv-6706-JMY

                  Plaintiff,
          v.

WILLIAM A. HOMONY, AS CHAPTER 11
TRUSTEE, et al.,

                  Defendants.

              MEMORANDUM OF LAW IN SUPPORT OF
         DEFENDANTS’ JOINT MOTION TO DISMISS COMPLAINT
            Case 2:24-cv-06706-JMY                        Document 16-3                  Filed 04/04/25               Page 2 of 27




                                                              TABLE OF CONTENTS




TABLE OF AUTHORITIES .......................................................................................................... ii

I.         INTRODUCTION .................................................................................................................. 1

II.        BACKGROUND .................................................................................................................... 2

      A.      Prior Stream Bankruptcy Cases .......................................................................................... 3

      B.      The 363 Sale ....................................................................................................................... 4

      C.      Rembrandt’s Complaint .................................................................................................... 10

III.          APPLICABLE LEGAL STANDARDS ........................................................................... 11

      A.      Motions to Dismiss Under Rule 12(b)(1) ......................................................................... 11

      B.      Motions to Dismiss Under Rule 12(b)(6) ......................................................................... 12

IV.           ARGUMENT .................................................................................................................... 13

      A. This Court Lacks Subject Matter Jurisdiction Pursuant to the Barton Doctrine, Because
      Plaintiff Did Not Obtain Leave of the Bankruptcy Court Before Filing the Complaint........... 13

      B. Plaintiff’s Claims Against The Defendants Are Barred Or Otherwise Mooted By The
      Bankruptcy Court’s Sale Approval Order................................................................................. 17

      C. The Trustee And His Professionals Were Acting Pursuant To The Bankruptcy Court’s
      Orders And Are Thus Immune From Suit ................................................................................ 20

V.         CONCLUSION ..................................................................................................................... 22




                                                                          i
        Case 2:24-cv-06706-JMY                     Document 16-3                Filed 04/04/25            Page 3 of 27




                                                    TABLE OF AUTHORITIES

Cases

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ......................................................................................... 12

Barton v. Barbour, 104 U.S. 126 (1881) ............................................................................ 1, 13, 14

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ......................................................................... 12

Bistrian v. Levi, 696 F.3d 352 (3d Cir. 2012) ............................................................................... 12

Buck v. Hampton Tp. School Dist., 452 F.3d 256 (3d Cir. 2006) ................................................. 13

Carter v. Rodgers, 220 F.3d 1249 (11th Cir. 2000)...................................................................... 14

Child v. Delaware Cnty., 2024 WL 464396 (E.D. Pa. Oct. 31, 2024).......................................... 11

Const. Party of Pennsylvania v. Aichele, 757 F.3d 347 (3d Cir. 2014) ........................................ 12

CoreStates Bank, N.A. v. Huls Am., Inc., 176 F.3d 187 (3d Cir. 1999) ........................................ 17

E. Mins. & Chemicals Co. v. Mahan, 225 F.3d 330 (3d Cir. 2000) ............................................. 19

Friedberg v. Barefoot Architect Inc., 723 F. App’x 100, 103 (3d Cir. 2018)............................... 13

Garrett v. Wexford Health, 938 F.3d 69 (3d Cir. 2019) ............................................................... 12

Heavrin v. Schilling (In re Triple S Rests., Inc.), 342 B.R. 508 (Bankr. W.D. Ky. 2006), aff'd,
  519 F.3d 575 (6th Cir. 2008) .................................................................................................... 15

In re Cambrian Holding Co., Inc., 110 F.4th 889 (6th Cir. 2024) ............................................... 18

In re Coastal Plains, Inc., 326 B.R. 102 (Bankr. N.D. Tex. 2005) .............................................. 15

In re Crown Vantage, Inc., 421 F.3d 963 (9th Cir. 2005) ................................................ 13, 15, 16

In re EXDS, Inc., 316 B.R. 817 (Bankr. D. Del. 2004)................................................................. 19

In re Fundamental Long Term Care, Inc., 628 B.R. 344 (Bankr. M.D. Fla. 2021), aff’d 2023 WL
   2139226 (M.D. Fla. Feb. 21, 2023) .......................................................................................... 18

In re Kids Creek Partners, L.P., 248 B.R. 554 (Bankr. N.D. Ill. 2000), aff'd, 2000 U.S. Dist.
   LEXIS 17718, 2000 WL 1761020 (N.D. Ill. Nov. 30, 2000) ................................................... 15

In re Martin, 91 F.3d 389 (3d Cir. 1996) ........................................................................................ 5

                                                                  ii
        Case 2:24-cv-06706-JMY                           Document 16-3                   Filed 04/04/25               Page 4 of 27




In re MBMK Prop. Holdings, LLC, 2024 WL 3167232 (Bankr. E.D. Pa. June 25, 2024) ........... 16

In re Prosser, No. 3:06-BK-30009, 2022 WL 4392445 (Bankr. D.V.I. Aug. 26, 2022), aff'd, No.
   3:06-BK-30009, 2024 WL 3412639 (D.V.I. July 15, 2024)..................................................... 21

In re Reagor-Dykes Motors, LP, 613 B.R. 878 (Bankr. N.D. Tex. 2020) .............................. 18, 19

In re Schering Plough Corp. Intron/Temodar Consumer Class Action, 678 F.3d 235 (3d Cir.
   2012) ......................................................................................................................................... 11

In re Swan Transportation Co., 596 B.R. 127 (Bankr. D. Del. 2018) .......................................... 15

In re Truong, 763 F. App’x 150 (3d Cir. 2019) ...................................................................... 11, 14

In re United Tax Grp., LLC, 2018 WL 1187395 (D. Del. Mar. 7, 2018) ..................................... 16

In re VistaCare Grp., LLC, 678 F.3d 218 (3d Cir. 2012) ............................................. 2, 13, 14, 16

In re Wyman, No. 12-32264-DOF, 2023 WL 2253142 (Bankr. E.D. Mich. Feb. 27, 2023) ........ 21

Lynch v. Jacobs, No. CV 20-182 (MN), 2021 WL 602439 (D. Del. Feb. 16, 2021) ................... 21

Mack v. Yost, 968 F.3d 311 (3d Cir. 2020) ................................................................................... 12

Matter of Baudoin, 981 F.2d 736 (5th Cir. 1993) ......................................................................... 18

Matter of Met–L–Wood Corp., 861 F.2d 1012 (7th Cir. 1988) .................................................... 18

Muratore v. Darr, 375 F.3d 140 (1st Cir. 2004) ........................................................................... 15

Phoenician Mediterranean Villa, LLC v. Swope (In re JBS Properties, LLC), 872 F.3d 138 (3d
  Cir. 2017) .................................................................................................................................. 21

Reese v. Pook & Pook, 158 F. Supp. 3d 271 (E.D. Pa. 2016) ................................................ 13, 14

Richardson v. Monaco (In re Summit Metals, Inc.), 477 B.R. 484 (Bankr. D. Del. 2012) .... 15, 21

Richman v. Batt, 265 B.R. 416 (E.D. Pa. 2001) ........................................................................... 16

Sands v. McCormick, 502 F.3d 263 (3d Cir. 2007) ...................................................................... 12

Satterfield v. Malloy, 700 F.3d 1231 (10th Cir. 2012) .................................................................. 11

Sims v. Viacom, Inc., 544 F. App’x 99, 101 (3d Cir. 2013) .......................................................... 17



                                                                        iii
        Case 2:24-cv-06706-JMY                        Document 16-3                 Filed 04/04/25              Page 5 of 27




Smith v. Dobin, 852 F. App’x 49 (3d Cir. 2021) .......................................................................... 19

Smolow v. Hafer, 353 F. Supp. 2d 561 (E.D. Pa. 2005) ............................................................... 12

W.G. Nichols, Inc. v. Ferguson, 2003 WL 22158794 (E.D. Pa. Sept. 18, 2003).......................... 13


Statutes

28 U.S.C. § 959(a) ........................................................................................................................ 15




                                                                     iv
      Case 2:24-cv-06706-JMY           Document 16-3        Filed 04/04/25       Page 6 of 27




       Defendants William A. Homony, in his capacity as Chapter 11 Trustee (the “Trustee”) of

the bankruptcy estates of Stream TV Networks, Inc. (“Stream”) and Technovative Media Inc.

(“Technovative,” and collectively with Stream, the “Debtors”), SSG Advisors, LLC, J. Scott

Victor, Teresa C. Kohl, Craig D. Warznak, Alexander D. Lamm, and Samuel P. Charlton, by and

through their undersigned counsel, submit this Memorandum of Law in support of their joint

motion to dismiss the Complaint [D.I. 1] filed against them by Plaintiff Rembrandt 3D Holding

Ltd. (“Rembrandt”). In support of their motion to dismiss, Defendants respectfully state as

follows:

I.     INTRODUCTION

       Rembrandt’s Complaint is the latest in a long series of attempts to derail the orderly

progress of the Debtors’ bankruptcy proceedings. Rembrandt’s claims are based on the erroneous

assertion – which it has argued (and lost) repeatedly before the Bankruptcy Court – that the

Bankruptcy Court-approved sale of Debtor assets to SeeCubic Inc. (“SeeCubic”) includes the sale

of Rembrandt-owned intellectual property. In fact, the Trustee did not sell and is not transferring

any property owned by non-Debtors. The Bankruptcy Court held as much in its sale approval

order and opinion dated December 9, 2024 and January 8, 2025, respectively.

       Defendants move to dismiss Rembrandt’s Complaint pursuant to FED. R. CIV. P. 12(b)(1)

for lack of subject matter jurisdiction and FED. R. CIV. P. 12(b)(6) for failure to state a claim upon

which relief can be granted.

       Dismissal under Rule 12(b)(1) is warranted because Rembrandt did not obtain leave from

the Bankruptcy Court to sue the Trustee and his professionals in this Court. Pursuant to Barton v.

Barbour, 104 U.S. 126 (1881) and its progeny, leave of the bankruptcy court is required before
      Case 2:24-cv-06706-JMY            Document 16-3       Filed 04/04/25       Page 7 of 27




instituting an action against a bankruptcy trustee in another forum.1 Rembrandt does not (and

cannot) allege that it received the requisite permission to institute this action, which deprives this

Court of subject matter jurisdiction.

       Alternatively, dismissal under Rule 12(b)(6) is warranted because Rembrandt’s challenges

to the Bankruptcy Court-approved sale transaction and the Trustee and his professionals’ conduct

relating thereto are barred by res judicata. The judicially noticeable entries on the Debtors’

bankruptcy docket establish that the Bankruptcy Court approved the sale over the objections of

Rembrandt (and others), including objections by Rembrandt relating to its intellectual property.

Rembrandt’s Complaint is yet another impermissible collateral attack on the Bankruptcy Court’s

decisions and should be dismissed.

       Finally, dismissal under Rule 12(b)(6) is warranted because the fact that the challenged

actions of the Trustee and his professionals were approved by the Bankruptcy Court in the face of

vigorous opposition by Rembrandt and others provides the Defendants with absolute immunity to

Rembrandt’s repackaged claims in the instant action.

II.    BACKGROUND

       On March 15, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for relief

pursuant to Chapter 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Eastern District of Pennsylvania (the

“Bankruptcy Court”). The bankruptcy cases are being jointly administered, under the caption In

re: Stream TV Networks, Inc., et al., E.D. Pa. Bankr. No. 23-10763.2 See Complaint [D.I. 1]

(“Compl.”) at ¶ 1.



1
      See, e.g., In re VistaCare Grp., LLC, 678 F.3d 218 (3d Cir. 2012).
2
      References to “Bankr. D.I. __” herein refer to public docket filings in E.D. Pa. Bankr. No.
23-10763. As matters of public record in the underlying bankruptcy proceedings, the Court may
                                                  2
      Case 2:24-cv-06706-JMY          Document 16-3         Filed 04/04/25      Page 8 of 27




       Defendant Homony is the court-appointed Chapter 11 Trustee of the Debtors’ jointly-

administered bankruptcy estates. Id. at ¶ 7. Defendant SSG Advisors, LLC (“SSG”) is the

Trustee’s court authorized investment banker. Id. at ¶ 8. Defendants Victor, Kohl, Warznak,

Lamm, and Charlton are employees of SSG. Id. at ¶¶ 16-20.

       On September 20, 2024, the Bankruptcy Court entered an order granting the Trustee’s

application to employ and retain SSG as his investment banker to market the Debtors’ assets for

sale in a process subject to the oversight and ultimate approval of the Bankruptcy Court. Ex. 6,

Bankr. D.I. 741. In connection with that order, SSG and its employees duly performed the services

for which SSG had been retained.

       A. Prior Stream Bankruptcy Cases

       The Trustee was appointed on January 5, 2024, for the reasons set forth by the Bankruptcy

Court in its Memorandum dated same (Ex. 1, Bankr. D.I. 548, the “Trustee Opinion”). The

Bankruptcy Court held, in relevant part, that, due to the gross mismanagement and lack of

transparency under the Debtors’ former CEO Mathu Rajan’s leadership, (i) a Chapter 11 trustee

must be appointed to administer the Debtors’ cases, and (ii) Rajan was no longer authorized to act

on behalf of the Debtors’ estates. See, e.g., Ex. 1, Trustee Opinion at pp. 31, 61.3

       This is the third Stream bankruptcy case. The first was a Chapter 11 case initiated by

Stream on February 24, 2021 and docketed at In re: Stream TV Networks, Inc., Bankr. D. Del. No.

21-10433-KBO (the “Delaware Voluntary Bankruptcy Case”). The Delaware Bankruptcy Court




consider such filings in ruling on the Trustee’s motion to dismiss. See Sands v. McCormick, 502
F.3d 263, 268 (3d Cir. 2007). For the Court’s convenience, copies of the pertinent bankruptcy
docket filings are being filed herewith as exhibits to the Declaration of Steven M. Coren,
referenced herein as “Ex. __”.
3
       The Trustee Opinion also summarizes the complicated procedural history of the underlying
bankruptcy case, certain of which is relevant here due to the Trustee’s preclusion arguments.
                                                 3
      Case 2:24-cv-06706-JMY            Document 16-3       Filed 04/04/25      Page 9 of 27




dismissed the Delaware Voluntary Bankruptcy Case on May 17, 2021, as having been filed in bad

faith. See Ex. 1, Trustee Opinion at p. 6.

           Six days later, on May 23, 2021, Rembrandt and two other purported creditors filed an

involuntary Chapter 7 case, docketed at In re Stream TV Networks, Inc., Bankr. D. Del. 21-10848

(the “Delaware Involuntary Bankruptcy Case”). Id. On the same day, Stream, Rajan, Rajan’s

brother Raja, and Rembrandt had executed a collusive settlement agreement (the “Rembrandt

Agreement”). It is this agreement that the instant Complaint trumpets as justifying the relief sought

by Rembrandt. See, e.g., Compl. at ¶¶ 1, 11, 216. The timing of the execution of the Rembrandt

Agreement and the filing of the Delaware Involuntary Bankruptcy Case (the same day) makes it

clear that the Rembrandt Agreement was executed in a ruse to manufacture creditor status to

Rembrandt (so that Rembrandt could act as one of the three purported “petitioning creditors” for

purposes of the involuntary bankruptcy filing). Not fooled, the Delaware Bankruptcy Court again

dismissed the filing as having been made in bad faith, on June 10, 2021. See Ex. 1, Trustee Opinion

at p. 6.

           B. The 363 Sale

           On May 6, 2024, the Trustee filed a Motion pursuant to Rule 9019 of the Federal Rules of

Bankruptcy Procedure (the “9019 Motion,” Ex. 2, Bankr. D.I. 630) to approve a settlement with

the Debtors’ secured creditor Hawk Investment Holdings Limited (”Hawk”), which had an action

pending against the Debtors in the Delaware Court of Chancery. The settlement, wherein Hawk

was collateral agent for the secured creditors, resolved several disputes between the parties,

provided a carve out of at least $9 million for the Debtors’ estates, and provided a mechanism for

the Debtors’ assets to be exposed to a sale process, whereby the true value of the assets could be




                                                  4
     Case 2:24-cv-06706-JMY            Document 16-3         Filed 04/04/25      Page 10 of 27




assessed by exposing them to the market and at which SeeCubic would be allowed to credit bid

(the “Hawk Settlement”).

       The Trustee’s 9019 Motion was vigorously opposed by Rembrandt. See, e.g., Ex. 3, Bankr.

D.I. 643 (Rembrandt’s 9019 objection), with Rembrandt arguing, inter alia, that the Hawk

Settlement “will violate both the Philips and Rembrandt licenses” and that the Trustee’s proposed

compromise should not go forward due to the Rembrandt Agreement. See id. at ¶¶ 2, 31-35. The

Bankruptcy Court conducted an evidentiary hearing on the 9019 Motion on June 5, 2024, during

which the Trustee presented evidence that the Hawk Settlement satisfied the Martin4 factors,

established the facts and reasoning that had informed his decision, and was cross-examined by

Rembrandt and others. See Ex. 5, Bankr. D.I. 670 (transcript of 6/5/24 hearing).

       Ultimately, the Bankruptcy Court approved the Hawk Settlement (Ex. 4, Bankr. D.I. 653,

the “9019 Order”) over the objections of Rembrandt, holding, inter alia, that the “Settlement

represents a valid exercise of the Trustee’s business judgment, having been informed by extensive

research, investigation, and negotiation by the Trustee” and that “[t]he Settlement and Agreement

are in the best interest of the Debtors’ estates and all of the Debtors’ stakeholders.” Id. at ¶¶ 4, 7.

Rembrandt filed a notice of appeal of the 9019 Order (Bankr. D.I. 685), with the appeal currently

pending in the District Court (E.D. Pa. No. 24-cv-2727).

       Pursuant to the court-approved Hawk Settlement the Trustee negotiated an arms’-length

asset purchase agreement with SeeCubic (the “Stalking Horse APA”) and, on September 30, 2024,

the Trustee filed a motion with the Bankruptcy Court seeking authorization and approval under

Section 363 of the Bankruptcy Code of the Stalking Horse APA and the associated Bid Procedures

in connection with the sale of substantially all of the Debtors’ assets on an “as is,” “where is” basis,



4
       See In re Martin, 91 F.3d 389, 393 (3d Cir. 1996).
                                                   5
     Case 2:24-cv-06706-JMY           Document 16-3        Filed 04/04/25      Page 11 of 27




without any warranty of any kind, express or implied (the “Sale Motion,” Ex. 7, Bankr. D.I. 750).5

The Sale Motion explicitly stated that the Trustee does not intend to sell or assign the Rembrandt

License as a part of the Stalking Horse APA. Id. at ¶ 27. Likewise, on November 11, 2024, the

Trustee filed a proposed Asset Purchase Agreement, which made it abundantly clear that the

following were to be deemed “Excluded Assets” which were not part of the Debtor assets the

Trustee sought to sell:

       (j)      any grant of rights or license by Rembrandt 3D Holding Ltd. (“Rembrandt”)
       or affiliates to Stream, including but not limited to the Rembrandt Grant of Rights
       in the Settlement Agreement and Mutual Release between Rembrandt and Stream
       dated May 23, 2021, any amendment thereto, and the Licensing Covenant between
       Rembrandt, Stream, and Visual Semiconductor, Inc. dated August 14, 2023, each
       to the extent valid, existing and enforceable as determined by a final, non-
       appealable order from a court of competent jurisdiction;

       (k)    any physical assets that contain or include Rembrandt Intellectual Property,
       to the extent valid, existing and enforceable as determined by a final, non-
       appealable order from a court of competent jurisdiction . . . .

Ex. 9, Bankr. D.I. 795-1 at § 2.2.

       As with the 9019 Motion, the Sale Motion was vigorously opposed by Rembrandt. See,

e.g., Ex. 8, Bankr. D.I. 789 (Rembrandt’s objection to Sale Motion). Rembrandt argued that the

proposed sale would include intellectual property belonging to Rembrandt and that the Trustee had

failed to remove such intellectual property from the assets available for sale – the same allegations

that form the basis for Rembrandt’s instant Complaint. See id. at ¶ 1 (“Rembrandt requests that

the [Sale] Motion be denied and Rembrandt further seeks an order to prevent the 363 Sale and that

[sic] the chapter 11 trustee . . . not make any new proposal to sell assets of the Debtors until the

Trustee has properly determined what are the assets of the Debtors and more specifically, has




5
       The Trustee’s sale of the Debtors’ assets is referred to herein as the “363 Sale.”
                                                 6
     Case 2:24-cv-06706-JMY                Document 16-3         Filed 04/04/25       Page 12 of 27




removed the technology that belongs to other third party entities from the technology the debtors

are proposing to sell”).

        Thereafter, on November 13, 2024, the Bankruptcy Court held a hearing and approved the

Bidding Procedures and the Stalking Horse APA with SeeCubic. See Ex. 10, Bankr. D.I. 807

(transcript of 11/13/24 hearing). The order approving the Bidding Procedures was entered on

November 20, 2024 (Ex. 11, Bankr. D.I. 811, the “Bidding Procedures Order”). The Bidding

Procedures Order set a deadline of November 22, 2024 for the filing of objections specifically to

the sale of the Debtor’s Assets and a deadline of November 29, 2024, for the filing of responses to

any objections. On November 22, 2024, Rembrandt filed its objection, which attempted to reargue

the merits of the Hawk Settlement. See Ex. 12, Bankr. D.I. 816. On December 4, 2024, the

Bankruptcy Court held yet another hearing concerning the sale of the Debtors’ assets. See Ex. 14,

Bankr. D.I. 878 (transcript of 12/4/24 hearing).

        On December 9, 2024 – after consideration of Rembrandt’s evidence and arguments at

numerous hearings and in voluminous written submissions – the Bankruptcy Court entered an

order (Ex. 13, Bankr. D.I. 876, the “Sale Approval Order”) which detailed the Trustee’s successful

efforts to marshal and sell Debtor assets for the benefit of creditors, and approved the sale of those

assets to SeeCubic pursuant to the APA. In the Sale Approval Order, the Bankruptcy Court found,

inter alia, that:

                   The Trustee “afforded a full, fair, and reasonable opportunity for any interested
                    party to make a higher or otherwise better offer to purchase the Assets,” id. at ¶ H;

                   “The Trustee and the Buyer have negotiated and undertaken their roles leading to
                    the entry into the Asset Purchase Agreement in a diligent, non-collusive, fair,
                    reasonable, and good faith manner and at arms’ length,” id. at ¶ J;

                   “The sale process conducted by the Trustee pursuant to the Bidding Procedures
                    Order and the Bidding Procedures resulted in the highest or otherwise best value
                    for the Assets for the Trustee and the Debtors’ estates, their creditors, and all parties

                                                       7
     Case 2:24-cv-06706-JMY           Document 16-3         Filed 04/04/25      Page 13 of 27




               in interest, and any other transaction would not have yielded as favorable a result,”
               id. at ¶ L;

              “The Trustee has demonstrated good, sufficient, and sound business reasons and
               justifications for entering into the Sale and the performance of its obligations under
               the Asset Purchase Agreement. The consummation of the Sale contemplated by
               the Asset Purchase Agreement is in the best interests of the Debtors, their creditors,
               their estates, and other parties in interest,” id. at ¶ M;

              “the Trustee, on behalf of each Debtor, has all of the power and authority necessary
               to (i) execute and deliver the Asset Purchase Agreement and all other documents to
               consummate the Sale, and (ii) consummate the Sale, and no further consents or
               approvals, other than those expressly provided for in the Asset Purchase
               Agreement, are required for the Trustee to consummate the transactions
               contemplated by the Asset Purchase Agreement, except as otherwise set forth in the
               Asset Purchase Agreement. The Assets constitute property of the Debtors’
               respective estates within the meaning of section 541(a) of the Bankruptcy Code and
               title thereto is presently vested in the Debtors’ estates,” id. at ¶ AA; and

              “The Trustee has demonstrated a sufficient basis and compelling circumstances
               warranting his to (i) entry into the Asset Purchase Agreement, and (ii) sale of the
               Assets, and such actions are an appropriate exercise of the Trustee’s business
               judgment and in the best interests of the Debtors, their estates, and their creditors.
               Such business reasons include that (i) the Asset Purchase Agreement constitutes the
               highest and best offer for the Assets; (ii) the Asset Purchase Agreement presents
               the best opportunity to maximize and realize the value of the Assets for the benefit
               of the Debtors, their estates, and their creditors; and (iii) unless the Sale
               contemplated by the Asset Purchase Agreement is concluded expeditiously,
               creditor recoveries are likely to be adversely affected,” id. at ¶ BB.

The Sale Approval Order “authorized, empowered, and directed [the Trustee] to (a) take any and

all actions necessary or appropriate to perform, consummate, implement, and close the Sale in

accordance with the terms and conditions set forth in the Asset Purchase Agreement, Transaction

Documents and this Sale Order,” and made clear that “[a]ll persons, entities, and interested parties

are prohibited and enjoined from taking any action that would in any way adversely affect or

interfere with, or which would be inconsistent with, the ability of the Trustee to transfer the Assets

to the Buyer (or its designee) in accordance with the Asset Purchase Agreement, the other




                                                  8
     Case 2:24-cv-06706-JMY           Document 16-3         Filed 04/04/25      Page 14 of 27




Transaction Documents, and this Sale Order.”6 Id. at ¶¶ 5, 7. Rembrandt filed a notice of appeal

of the Sale Approval Order (Bankr. D.I. 877), with the appeal currently pending in the District

Court (E.D. Pa. No. 24-6617).

       On January 8, 2025, the Bankruptcy Court issued an Opinion (Ex. 15, Bankr. D.I. 916, the

“Sale Approval Opinion”) pursuant to Local Bankruptcy Rule 8003-1 in support of its Sale

Approval Order. The Bankruptcy Court held, in relevant part:

               “...Rembrandt focused [at the December 4, 2024 Sale Hearing] on what Assets
                were being sold and whether they included Rembrandt’s intellectual property. The
                APA, however, made clear that such intellectual property was an Excluded Asset.
                As the Court observed at the Sale Hearing multiple times, the Assets to be sold ‘are
                what they are,’ and were set forth in the APA and its schedules. SeeCubic agreed
                to purchase those Assets on an ‘as is, where is’ basis, and to the extent Rembrandt
                believes SeeCubic’s use of the Assets after closing violates its rights, litigation
                against the purchaser is not barred,” id. at pp. 17-18;

               “Nothing in the Blumenthal Declaration [submitted by Rembrandt at the Sale
                Hearing] undermines the Sale process. . . . Mr. Blumenthal does reiterate
                Rembrandt’s argument that Stream’s UltraD technology is dependent on
                Rembrandt’s and Philips’ technology, and that because Stream’s licenses from
                Rembrandt and Philips are not transferable, SeeCubic’s failure to obtain new
                licenses will render the Assets worthless. . . . The Court, however, dispensed with
                this argument at the Sale Hearing, finding that the Sale, with the exception of a
                piece of bonding equipment located in China, is a deal for Technovative’s equity
                stake in certain non-debtor subsidiaries, and to the extent Rembrandt believes that
                the sale violates its intellectual property rights, its litigation claims [against the
                Buyer] are preserved,” id. at p. 19;

               The Trustee’s marketing process was reasonable in view of the facts, among others,
                that SSG contacted approximately 550 potential purchasers in connection with the
                solicitation process approved by the Bankruptcy Court in its order approving the
                Bidding Procedures Motion, id. at 18-19; and

6
         While barring interference with the Trustee, the APA and Sale Approval Order expressly
preserve Rembrandt’s right to pursue any IP-related claims it purports to have against the Buyer.
See, e.g., Ex. 13, Sale Approval Order at Ex. 1, § 2.3, (providing that “the Buyer . . . assumes any
liability to the extent that there is any claim or cause of action alleging that any Intellectual
Property of any third party, including but not limited to the Rembrandt Intellectual Property, has
been improperly transferred or sold to the Buyer . . . as part of the Transferred Assets at
Closing”); Ex. 15, Sale Approval Opinion at 18 (“to the extent Rembrandt believes SeeCubic’s
use of the Assets after closing violates its rights, litigation against the purchaser is not barred”).
                                                  9
     Case 2:24-cv-06706-JMY           Document 16-3        Filed 04/04/25      Page 15 of 27




               “Finally, the Court finds that the Assets may be sold free and clear of any interests
                of third parties pursuant to § 363(f). Rembrandt asserts it (and Philips) has
                intellectual property that may not be transferred to SeeCubic. To the extent those
                rights exist, they are excluded under the APA. To the extent Rembrandt is arguing
                that Technovative’s equity interests in non-debtor subsidiaries may not be sold
                because those subsidiaries are in possession of the intellectual property, the Court
                finds that this argument lacks merit,” id. at p. 21.

As the Bankruptcy Court discussed, these meritless objections had been raised for the “second or

third time[]” in response to the Sale Motion. See id. at pp. 4, 7-10 (discussing objections filed by

Rembrandt and associated entity VSI to 9019 Motion and Bidding Procedures Motion, which

included, inter alia, that the property to be sold included Rembrandt IP and that the Trustee had

not “removed” those assets); id. at pp. 12-13 (discussing objections filed by Rembrandt and VSI

to Sale Motion).

       C. Rembrandt’s Complaint

       On December 17, 2024, Rembrandt filed the instant Complaint against the Trustee, SSG,

and certain SSG employees, asserting claims for patent infringement, misappropriation of trade

secrets, and breach of the Rembrandt Agreement, and seeking injunctive relief and damages. D.I.

1. Rembrandt’s allegations against the Trustee and his professionals at SSG all center around the

actions in facilitating and entering into the 363 Sale on behalf of Debtors’ estates. See, e.g.,

Complaint. at ¶¶ 167-69, 185, 199 (patent infringement claims based on Trustee’s alleged failure

to prevent Buyer’s “infringing actions” and to “remove Rembrandt’s patented technology from the

Debtors’ assets being sold”), ¶ 206 (misappropriation claim based on Trustee allegedly “selling or

allowing the sale” of assets at issue), ¶ 216 (breach of contract claim based on Trustee allegedly

“taking actions during his administration of the Debtors’ estates” that include “selling,” “allowing

the sale of,” and “offering for sale” the assets at issue). Rembrandt’s complaints about the Trustee

and the 363 Sale are barred or otherwise mooted by the Bankruptcy Court’s Sale Approval Order

                                                 10
       Case 2:24-cv-06706-JMY         Document 16-3         Filed 04/04/25      Page 16 of 27




– which expressly approves and directs the Trustee to consummate the sale and as to which

Rembrandt’s vigorous objections in the Bankruptcy Court were overruled. The fundamental

allegation underlying the Complaint – i.e., that “[t]he assets Defendants have sold include the

intellectual property of Rembrandt,” Compl. at ¶ 12 – is plainly foreclosed by the Sale Approval

Order. See Ex. 13, Bankr. D.I. 876, Sale Approval Order at ¶ AA (“The Assets constitute property

of the Debtors’ respective estates within the meaning of section 541(a) of the Bankruptcy Code

and title thereto is presently vested in the Debtors’ estates.”). As such, this Court should recognize

the Complaint as an impermissible attempt to circumvent both the Sale Approval Order and the

bankruptcy appellate process.

III.    APPLICABLE LEGAL STANDARDS

        A. Motions to Dismiss Under Rule 12(b)(1)

        Under FED. R. CIV. P. 12(b)(1), a court must grant a motion to dismiss if it lacks subject

matter jurisdiction to hear a claim. In re Schering Plough Corp. Intron/Temodar Consumer Class

Action, 678 F.3d 235, 243 (3d Cir. 2012). “At issue in a Rule 12(b)(1) motion is the court’s very

power to hear the case.” Child v. Delaware Cnty., 2024 WL 4643966, at *2 (E.D. Pa. Oct. 31,

2024) (citation omitted). Motions to dismiss based on the Barton doctrine are properly brought

under Rule 12(b)(1) because the doctrine is “jurisdictional in nature.” In re Truong, 763 F. App’x

150, 154 (3d Cir. 2019) (quoting Satterfield v. Malloy, 700 F.3d 1231, 1234 (10th Cir. 2012)).

        The applicable standard of review for a Rule 12(b)(1) motion depends on whether the

motion presents a “facial” or “factual” attack. Schering Plough, 678 F.3d at 243. A “facial” attack

“contests the sufficiency of the pleadings,” and the district court “appl[ies] the same standard of

review it would use in considering a motion to dismiss under Rule 12(b)(6), i.e., construing the

alleged facts in favor of the nonmoving party.” Const. Party of Pennsylvania v. Aichele, 757 F.3d



                                                 11
     Case 2:24-cv-06706-JMY            Document 16-3         Filed 04/04/25       Page 17 of 27




347, 358 (3d Cir. 2014). A “factual” attack, on the other hand, “concerns the actual failure of a

plaintiff’s claims to comport factually with the jurisdictional prerequisites,” and the district court

is permitted to weigh and consider evidence outside the pleadings. Id. (citations omitted). “For

both categories of attack, a plaintiff has the burden of proving jurisdiction.” Smolow v. Hafer, 353

F. Supp. 2d 561, 566 (E.D. Pa. 2005).

        A Rule 12(b)(1) motion filed before a defendant has filed an answer or otherwise presented

competing factual evidence is “by definition, a facial attack,” subject to the same standard as a

Rule 12(b)(6) motion. Const. Party, 757 F.3d at 358.

        B. Motions to Dismiss Under Rule 12(b)(6)

        In order “[t]o survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim

is plausible on its face “when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. “Conclusory

allegations of liability are insufficient” to survive a motion to dismiss. Garrett v. Wexford Health,

938 F.3d 69, 92 (3d Cir. 2019). To determine whether a complaint survives a motion to dismiss,

a court identifies “the elements a plaintiff must plead to state a claim for relief,” disregards the

allegations “that are no more than conclusions and thus not entitled to the assumption of truth,”

and determines whether the remaining factual allegations “plausibly give rise to an entitlement to

relief.” Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012), abrogated on other grounds as

recognized in Mack v. Yost, 968 F.3d 311, 319 n.7 (3d Cir. 2020).

        In considering a motion to dismiss, the court generally relies on the complaint, attached

exhibits, and matters of public record. Sands v. McCormick, 502 F.3d 263, 268 (3d Cir. 2007);



                                                   12
      Case 2:24-cv-06706-JMY         Document 16-3        Filed 04/04/25      Page 18 of 27




see also, e.g., Friedberg v. Barefoot Architect Inc., 723 F. App’x 100, 103 (3d Cir. 2018)

(documents filed on bankruptcy dockets are matters of public record which may be considered in

deciding a 12(b)(6) motion); Buck v. Hampton Tp. School Dist., 452 F.3d 256, 260 (3d Cir. 2006)

(in evaluating a motion to dismiss, the court “may consider . . . items appearing in the record of

the case”). Res judicata and collateral estoppel may be raised upon a Rule 12(b)(6) motion if the

facts are admitted, uncontroverted, or conclusively established so that nothing further can be

developed by a trial of the issue. W.G. Nichols, Inc. v. Ferguson, 2003 WL 22158794, at *2 n.5

(E.D. Pa. Sept. 18, 2003).

IV.    ARGUMENT

       A. This Court Lacks Subject Matter Jurisdiction Pursuant to the Barton Doctrine,
          Because Plaintiff Did Not Obtain Leave of the Bankruptcy Court Before Filing
          the Complaint

       In Barton v. Barbour, the Supreme Court held that “before suit is brought against a

receiver[,] leave of the court by which he was appointed must be obtained.” 104 U.S. 126, 128

(1881). In In re VistaCare Grp., LLC, the Third Circuit extended this common law doctrine to

include lawsuits against a bankruptcy trustee. See 678 F.3d 218, 224 (3d Cir. 2012) (joining sister

circuits in extending Barton doctrine to bankruptcy trustees). The Third Circuit held that “a party

must first obtain leave of the bankruptcy court before it brings an action in another forum against

a bankruptcy trustee for acts done in the trustee’s official capacity.” Id. at 232. The Barton

doctrine applies to both Chapter 7 and Chapter 11 proceedings. See, e.g., In re Crown Vantage,

Inc., 421 F.3d 963, 970-72 (9th Cir. 2005) (applying Barton doctrine to liquidating trustee in

Chapter 11 case). The Barton doctrine also “shields not only the bankruptcy trustee, but also ‘other

bankruptcy-court-appointed officer[s], for acts done in the actor’s official capacity.’” Reese v.

Pook & Pook, 158 F. Supp. 3d 271, 283-84 (E.D. Pa. 2016) (quoting Carter v. Rodgers, 220 F.3d



                                                13
     Case 2:24-cv-06706-JMY           Document 16-3         Filed 04/04/25      Page 19 of 27




1249, 1252 (11th Cir. 2000) (applying Barton to bar suit against bankruptcy trustee and antiques

dealer appointed by the bankruptcy trustee to conduct sale of estate property)). As such, the

doctrine applies with equal force to SSG and its professionals, as the Trustee’s court authorized

investment banker.

       The purpose of the Barton doctrine is to prevent “usurpation of the powers and duties which

belong[] exclusively to the appointing court” and to protect “the duty of that court to distribute the

trust assets to creditors equitably and according to their respective priorities.” VistaCare, 678 F.3d

at 225 (quoting Barton, 104 U.S. at 136) (brackets omitted). “Because a judgment against the

trustee . . . may affect the administration of the estate, the requirement of uniform application of

bankruptcy law dictates that all legal proceedings that affect the administration of the bankruptcy

estate be either brought in the bankruptcy court or with the permission of the bankruptcy court.”

Id. at 228 (citation and internal quotation and alteration marks omitted).

       Rembrandt’s claims against the Defendants are barred by the Barton doctrine because

Rembrandt did not obtain leave from the Bankruptcy Court before filing its Complaint. This Court

is deprived of subject matter jurisdiction where, as here, the plaintiff seeks to sue the Trustee and

his court authorized professionals for actions taken in their official capacity – such as

administration of the estate and liquidation of estate property – without leave of the Bankruptcy

Court. See Truong, 763 F. App’x at 153-54 (affirming dismissal of complaint against trustee

related to sale of estate property because plaintiff did not obtain leave of bankruptcy court); see

also Reese, 158 F. Supp. 3d at 283 (holding that “[p]laintiff’s failure to allege that they secured

the permission of the Bankruptcy Court before filing the claims strips [the District Court] of subject

matter jurisdiction”).




                                                 14
     Case 2:24-cv-06706-JMY            Document 16-3         Filed 04/04/25      Page 20 of 27




       Further, Courts have held that the failure to first seek leave of the appointing court cannot

be rectified after the suit has been filed because the case is void ab initio. See, e.g., Richardson v.

Monaco (In re Summit Metals, Inc.), 477 B.R. 484, 497 (Bankr. D. Del. 2012); In re Swan

Transportation Co., 596 B.R. 127, 138 (Bankr. D. Del. 2018) (agreeing with In re Summit Metals,

Inc.); In re Kids Creek Partners, L.P., 248 B.R. 554, 558-59 (Bankr. N.D. Ill. 2000), aff'd, 2000

U.S. Dist. LEXIS 17718, 2000 WL 1761020 (N.D. Ill. Nov. 30, 2000) (the appointing court

dismissed the case under the Barton doctrine when plaintiffs requested leave to sue the Trustee

only after filing suit in non-appointing court); Heavrin v. Schilling (In re Triple S Rests., Inc.), 342

B.R. 508, 512 (Bankr. W.D. Ky. 2006), aff'd, 519 F.3d 575 (6th Cir. 2008) (the appointing court

dismissed the case under the Barton doctrine because the plaintiff did not seek or obtain leave of

that court before filing suit against the Trustee in state court); In re Coastal Plains, Inc., 326 B.R.

102, 111-112 (Bankr. N.D. Tex. 2005) (same).

       There is a narrow statutory exception to the Barton doctrine, codified at 28 U.S.C. § 959(a),

which provides “Trustees . . . of any property, including debtors in possession, may be sued,

without leave of the court appointing them, with respect to any of their acts or transactions in

carrying on business connected with such property.” 28 U.S.C. § 959(a); see also VistaCare, 678

F.3d at 226-27. “By its terms, this limited exception applies only if the trustee or other officer is

actually operating the business, and only to ‘acts or transactions in conducting the debtor’s

business in the ordinary sense of the words or in pursuing that business as an operating enterprise.’”

Crown Vantage, 421 F.3d at 971-72 (quoting Muratore v. Darr, 375 F.3d 140, 144 (1st Cir. 2004)).




                                                  15
     Case 2:24-cv-06706-JMY           Document 16-3         Filed 04/04/25      Page 21 of 27




       The § 959(a) exception clearly does not apply here, as Rembrandt’s allegations against the

Trustee, SSG and the SSG employees do not involve the operation of any Debtor business.7 The

Trustee “was not operating the business previously conducted by the debtor; he was liquidating

the assets of the estate” – which is “precisely the type of activity that the Barton doctrine was

designed to protect.” Crown Vantage, 421 F.3d at 972; see also Richman v. Batt, 265 B.R. 416,

418 (E.D. Pa. 2001) (§ 959(a) does not apply to acts taken to administer and liquidate estate assets);

Muratore, 375 F.3d at 144-46 (exception did not apply to allegations concerning improper

liquidations).8 In addition, because none of the Defendants acted outside the scope of the duties

and responsibilities imposed by the Bankruptcy Code and supervised by the Bankruptcy Court,

Rembrandt can neither allege nor prove that any of the conduct complained of is actionable. In

this regard, the Defendants submit that Rembrandt knowingly disregarded the procedural

restrictions established by Barton in order to avoid the scrutiny of its instant claims by the

Bankruptcy Court, which was already thoroughly familiar with them.




7
        Indeed, the Debtors were not operating at all when the Trustee was appointed. See Ex. 15,
Bankr. D.I. 916, Sale Approval Opinion, at p. 16.
8
        Some courts have also applied an “ultra vires” exception to the Barton doctrine, which
applies when a receiver acts beyond the scope of his authorized duties – with the typical example
being wrongful seizure or control of non-receivership property. See In re MBMK Prop. Holdings,
LLC, 2024 WL 3167232, at *21 (Bankr. E.D. Pa. June 25, 2024). The Third Circuit has not
recognized the ultra vires exception. See In re United Tax Grp., LLC, 2018 WL 1187395, at *4
(D. Del. Mar. 7, 2018) (citing VistaCare, 678 F.3d at 232). Furthermore, any attempt by
Rembrandt to rely on the ultra vires exception due to its allegations that the Sale assets “include
the intellectual property of Rembrandt” (Compl. at ¶ 12) would be barred or otherwise mooted by
the Bankruptcy Court’s Sale Approval Order, which expressly considered and rejected the
argument. See Ex. 13, Sale Approval Order [Bankr. D.I. 876], at ¶¶ AA (“The [Sale] Assets
constitute property of the Debtors’ respective estates within the meaning of section 541(a) of the
Bankruptcy Code and title thereto is presently vested in the Debtors’ estates.”).
                                                 16
     Case 2:24-cv-06706-JMY           Document 16-3         Filed 04/04/25      Page 22 of 27




       Because Rembrandt’s failure to obtain leave from the Bankruptcy Court prior to filing its

Complaint deprives this Court of subject matter jurisdiction, dismissal under Rule 12(b)(1) is

required.

       B. Plaintiff’s Claims Against The Defendants Are Barred Or Otherwise Mooted By
          The Bankruptcy Court’s Sale Approval Order

       Rembrandt’s patent infringement, misappropriation of trade secrets, and breach of contract

claims against the Trustee and his professionals are all based on their alleged actions in connection

with the marketing and sale of Debtor assets as part of the 363 Sale to SeeCubic. See, e.g., Compl.

at ¶¶ 167-69, 185, 199 (alleging patent infringement via failure to prevent Buyer’s “infringing

actions” and to “remove Rembrandt’s patented technology” from the Sale assets), ¶ 206 (alleging

misappropriation by “selling or allowing the sale” of assets at issue), ¶ 216 (alleging breach of

contract “by taking actions during his administration of the Debtors’ estates” that include “selling,”

“allowing the sale of,” and “offering for sale” the assets at issue). Rembrandt’s claims are just

repackaged objections to the 363 Sale (which Rembrandt already raised and lost before the

Bankruptcy Court) and are at odds with the Bankruptcy Court’s 9019 Order (Ex. 4) and Sale

Approval Order (Ex. 13).

       Res judicata, also known as claim preclusion, provides that “[a] final judgment on the

merits of an action precludes the parties or their privies from relitigating issues that were or could

have been raised in that action.” Sims v. Viacom, Inc., 544 F. App’x 99, 101 (3d Cir. 2013) (citation

omitted). The following requirements ordinarily must be satisfied for res judicata to apply: “(1) a

final judgment on the merits in a prior suit involving, (2) the same parties or their privies, and (3)

a subsequent suit based on the same cause of action.” Id. “If these three factors are present, a

claim that was or could have been raised previously must be dismissed as precluded.” CoreStates

Bank, N.A. v. Huls Am., Inc., 176 F.3d 187, 194 (3d Cir. 1999).

                                                 17
     Case 2:24-cv-06706-JMY           Document 16-3         Filed 04/04/25      Page 23 of 27




       The first and second factors are clearly satisfied here. With respect to the first factor, it is

well-established that orders approving bankruptcy sales and compromises are final orders for res

judicata purposes. See, e.g., In re Cambrian Holding Co., Inc., 110 F.4th 889, 892 (6th Cir. 2024)

(“Courts have treated a bankruptcy court’s order approving a sale of the debtor’s property under §

363 as a ‘final’ order. This treatment has meant that a disgruntled party can immediately appeal a

sale order. And it has meant that a sale order can trigger the doctrines of issue and claim preclusion

in other cases.”) (citations omitted); Matter of Baudoin, 981 F.2d 736, 742 (5th Cir. 1993) (“Our

precedent clearly establishes that bankruptcy court orders authorizing the sale of part of the estate

or confirming such sale are final judgments on the merits for res judicata purposes.”); Matter of

Met–L–Wood Corp., 861 F.2d 1012, 1016 (7th Cir. 1988) (holding that bankruptcy court’s order

confirming judicial sale of a debtor’s estate was a final order); In re Fundamental Long Term Care,

Inc., 628 B.R. 344, 346 (Bankr. M.D. Fla. 2021), aff’d 2023 WL 2139226 (M.D. Fla. Feb. 21,

2023) (“[A] final order approving a bankruptcy settlement under Fed. R. Bankr. P. 9019 binds

creditors and has preclusive effect on all matters that were or should have been raised in the

proceeding.”); In re Reagor-Dykes Motors, LP, 613 B.R. 878, 887-88 (Bankr. N.D. Tex. 2020)

(“An order approving a settlement under Rule 9019 has res judicata effect as a final order.”).9

       The second factor is similarly clearly established by Rembrandt’s active opposition to the

9019 Motion and the Sale Motion. See, e.g., Smith v. Dobin, 852 F. App’x 49, 51-52 (3d Cir.




9
        Rembrandt has filed several appeals relating to the 9019 Order and Sale Approval Order,
but such appeals do not affect the finality of the orders for res judicata purposes. See, e.g., In re
Gay, 2024 WL 2947614, at *12 n.18 (Bankr. W.D. Pa. June 11, 2024) (collecting cases holding
that “courts have found the doctrines [of res judicata and collateral estoppel] applicable even in
instances where the final order being enforced or applied is the subject of appeal”); Snider v.
Pennsylvania DOC, 505 F. Supp. 3d 360, 418 (M.D. Pa. 2020) (“The pendency of an appeal
does not affect the potential for res judicata flowing from an otherwise-valid judgment.”)
(quotation marks and citation omitted).
                                                 18
     Case 2:24-cv-06706-JMY            Document 16-3        Filed 04/04/25       Page 24 of 27




2021) (affirming the district court’s ruling that claims were barred by claim preclusion, and

concluding that the plaintiff also failed to state a claim on which relief can be granted when the

plaintiff unsuccessfully challenged the purchase of her former house in the bankruptcy court,

because the plaintiff “either litigated or could have litigated her allegations of fraud regarding [the

buyer] in that proceeding”); In re Reagor-Dykes Motors, LP, 613 B.R. 878, 888 (Bankr. N.D. Tex.

2020) (holding that a party in interest who receives notice of and has opportunity to object to a

Rule 9019 motion is bound by a resulting order for purposes of res judicata). Rembrandt objected

to the Trustee’s 9019 Motion (Ex. 3, Bankr. D.I. 643) and objected to the Trustee’s Sale Motion

(Ex. 8, Bankr. D.I. 789), raising issues which are substantively identical – including arguments

based on alleged infringement of Rembrandt’s intellectual property and alleged violation of the

Rembrandt Agreement – to those which form the basis of Rembrandt’s claims in the instant

Complaint.    See Ex. 15, Bankr. D.I. 916, Sale Approval Opinion, at pp. 4, 7-10, 12-14

(summarizing objections to 9019 Motion, Bidding Procedures Motion, and Sale Motion, and

hearings held on same).

       The final res judicata factor – a subsequent suit based on the same cause of action – is also

met here. While courts within the Third Circuit have recognized that application of the traditional

res judicata analysis is “confound[ed]” by the “depth and breadth of a bankruptcy proceeding,” In

re EXDS, Inc., 316 B.R. 817, 822 (Bankr. D. Del. 2004), the relief requested by Rembrandt is

clearly such that the “factual underpinnings, theory of the case, and relief sought . . . are so close

to a claim actually litigated in the bankruptcy that it would be unreasonable not to have brought

them both at the same time in the bankruptcy forum.” E. Mins. & Chemicals Co. v. Mahan, 225

F.3d 330, 337 (3d Cir. 2000).




                                                  19
     Case 2:24-cv-06706-JMY            Document 16-3         Filed 04/04/25      Page 25 of 27




       Indeed, the purported wrongdoing raised in the Complaint – i.e., Rembrandt’s allegation

that the Trustee and his professionals sought to sell property belonging not to the Debtors, but

instead to Rembrandt, see, e.g., Compl. at ¶¶ 7-12 – is identical to the grounds raised in

Rembrandt’s objections to the Trustee’s 9019 Motion and Sale Motion. See, e.g., Ex. 3, Bankr.

D.I. 643 at ¶ 41 (Rembrandt’s objection to 9019 Motion, alleging that “all Stream demonstrators,

products and even the core Ultra-D technology itself contains Rembrandt IP”); Ex. 8, Bankr. D.I.

789 at ¶ 2 (Rembrandt’s objection to Sale Motion, alleging that “the bankruptcy estates do not own

either of the Philips or Rembrandt technology that has been incorporated into the technology and

products that were being sold by the Debtors”). The Bankruptcy Court’s 9019 Order and Sale

Approval Order fully and finally disposed of Rembrandt’s claims that the Trustee and his

professionals were improperly seeking to sell property belonging to Rembrandt, and Rembrandt’s

claim that the Trustee has infringed its intellectual property rights via the Sale is accordingly barred

by the doctrine of res judicata. See, e.g., Ex. 13, Bankr. D.I. 876, Sale Approval Order at ¶ AA

(“The Assets constitute property of the Debtors’ respective estates within the meaning of section

541(a) of the Bankruptcy Code and title thereto is presently vested in the Debtors’ estates.”); Ex.

15, Bankr. D.I. 916, Sale Approval Opinion, at pp. 17-21.10

       C. The Trustee And His Professionals Were Acting Pursuant To The Bankruptcy
          Court’s Orders And Are Thus Immune From Suit

       “[W]hen a trustee is acting pursuant to a court order, . . . the trustee is protected by

absolute or derived immunity.” In re Wyman, No. 12-32264-DOF, 2023 WL 2253142, at *6




10
       For the same reason, Rembrandt’s claims against the Trustee are also barred by collateral
estoppel (also known as issue preclusion), which is narrower than claim preclusion in that claim
preclusion bars all issues that were or could have been raised in the prior proceeding, while issue
preclusion bars only those issues actually raised and decided. See, e.g., In re Radnor Holdings
Corp., 564 B.R. 467, 483 (D. Del. 2017).
                                                  20
     Case 2:24-cv-06706-JMY            Document 16-3      Filed 04/04/25     Page 26 of 27




(Bankr. E.D. Mich. Feb. 27, 2023) (citing Phoenician Mediterranean Villa, LLC v. Swope (In re

JBS Properties, LLC), 872 F.3d 138, 142 n.3 (3d Cir. 2017)); Lynch v. Jacobs, No. CV 20-182

(MN), 2021 WL 602439, at *9 (D. Del. Feb. 16, 2021) (“Given that the Trustee was acting in

compliance with and pursuant to the Delaware Bankruptcy Court’s Modified Confirmation

Order, the Bankruptcy Court correctly determined that the Trustee is immune from any suit

brought by Appellants.”); In re Prosser, No. 3:06-BK-30009, 2022 WL 4392445, at *6 (Bankr.

D.V.I. Aug. 26, 2022), aff'd, No. 3:06-BK-30009, 2024 WL 3412639 (D.V.I. July 15, 2024)

(“Judicial immunity is a defense available to bankruptcy trustees and professionals when they act

within the scope of their authority and pursuant to court order.”); Summit Metals, 477 B.R. at 501

(“Because [the] Complaint is composed almost entirely of claims stemming from official, Court-

approved or Court-ordered actions, the factual allegations in the Complaint do not support a right

to relief against the Defendants.”).

       As set forth in detail above, Rembrandt’s claims against the Trustee and his professionals

are all based on alleged actions in connection with the marketing and sale of Debtor assets as

part of the 363 Sale to SeeCubic, which occurred pursuant to explicit Orders of the Bankruptcy

Court, i.e., the 9019 Order and Sale Approval Order. The fact that the challenged actions of the

Trustee and his professionals were approved by the Bankruptcy Court in the face of vigorous

opposition by Rembrandt and others provides the Defendants with absolute immunity to

Rembrandt’s repackaged claims in the instant action.




                                               21
     Case 2:24-cv-06706-JMY           Document 16-3         Filed 04/04/25      Page 27 of 27




V.     CONCLUSION

       In light of the foregoing facts and authorities, Defendants respectfully request that this

Court enter an order dismissing the Complaint for lack of subject matter jurisdiction or,

alternatively, for failure to state a claim upon which relief can be granted.


Dated: April 4, 2025                           Respectfully submitted,

 /s/ Jeffrey Kurtzman                            /s/ Steven M. Coren
 Jeffrey Kurtzman, Esquire                       Steven M. Coren, Esquire
 KURTZMAN STEADY, LLC                            COREN & RESS, P.C.
 555 City Avenue,                                Two Commerce Square, Suite 3900
 Suite 480                                       2001 Market Street
 Bala Cynwyd, PA 19004                           Philadelphia, PA 19103
 Telephone: (215) 883-1600                       Telephone: (215) 735-8700
 kurtzman@kurtzmansteady.com                     scoren@kcr-law.com

 Counsel to SSG Advisors, LLC, J. Scott                            and
 Victor, Teresa C. Kohl, Craig D. Warznak,
 Alexander D. Lamm, and Samuel P.                /s/ Michael D. Vagnoni
 Charlton                                        Michael D. Vagnoni, Esquire
                                                 Edmond M. George, Esquire
                                                 OBERMAYER REBMANN MAXWELL & HIPPEL
                                                 LLP
                                                 Centre Square West
                                                 1500 Market Street, Suite 3400
                                                 Philadelphia, PA 19102
                                                 Telephone: (215) 665-3066

                                                 Counsel to the Trustee




                                                 22
